Case 2:03-cv-02470-SHI\/|-dkv Document 126 Filed 09/01/05 Page 10f3 PagelD»;|AS

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WESTERN DISTRICT OF TENNESSEE

  

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'rRoY L. vAuGHAN, JR. ,
Plaintiff,
v. Case Nb. 03-2470-Ma

MEMPHIS HEALTH CENTER, INC.,

Defendant.

 

ORDER ON JURI VERDICT

 

This action came on for trial before the Court and a jury on
August 29, 2005, the Honorable Samuel H. Mays, Jr., U.S. District
Judge, presiding;

The plaintiff was represented by counsel, Mr. David M.
Rudolph. The defendant was represented by counsel, Ms. Florence
M. Johnson, Ms. Pamela McFarland-Brown, and Mr. Curtis Johnson.

On August 30, 2005, after due deliberation and consideration
of the proof presented, the jury returned a verdict as follows:

That the age of plaintiff Troy L. Vaughan, Jr. was a
determinative factor in the decision of defendant Memphis Health

Center, Inc. not to hire plaintiff for the position of Chief

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Case 2:03-cv-02470-SHI\/|-dkv Document 126 Filed 09/01/05 Page 2 of 3 Page|D 149

Operations Officer. The jury determined that the amount of
damages representing back pay sustained by plaintiff was
$265,426.66. The jury did not award front pay to plaintiff.

That the decision of defendant Memphis Health Center, Inc. not
to hire plaintiff for the Chief Operations Officer position because
of plaintiff's age was willful.

That the age of plaintiff Troy L. Vaughan, Jr. was a
determinative factor in the decision of defendant Memphis Health
Center, Inc not hire plaintiff for the position of Human Resources
Director. The jury did not award damages to plaintiff on this
claim.

That the decision of defendant Memphis Health Center, Inc. not
to hire plaintiff for the Human Resources Director position because
of plaintiff's age was willful.

The jurors were polled individually and discharged.

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ENTERED this day of September, 2005.

_MV/"'/L____

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 126 in
case 2:03-CV-02470 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

